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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Index No.: 1:20-cv-08786

Plaintiff, AFFIDAVIT OF
SERVICE

-against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendants.

 

STATE OF NEW YORK }
} ss.:
COUNTY OF NASSAU }

I, Katrina Conte, being duly sworn depose and say:

I am not a party to the action; I am over 18 years of age and reside in Nassau, New York, that on
the 22"! day of February 2021, I served the ORDER TO SHOW CAUSE FOR DEFAULT
JUDGMENT,

DECLARATION OF TIMOTHY J. FIERST, ESQ. IN SUPPPORT OF PLAINTIFF’S
MOTION FOR ENTRY OF DEFAULT JUDGMENT,

MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR DEFAULT
JUDGMNET AGAINST 100 BROAD STREET, LLC a/k/a ESSEN FOOD, ESSEN22 LLC
a/k/a ESSEN FOOD, JOHN BYUN, CHONG WON BYUN, and WILLIAM BYUN.

DECLARATION IF LEE PAKULSKY IN SUPPORT OF PLAINTIFF’S MOTION FOR
ENTRY OF DEFAULT JUDGMENT, and all exhibits thereto upon:

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
100 Broad Street
New York, NY 10004

ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
100 Broad Street
New York, NY 10004
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CHONG WON BYUN
100 Broad Street
New York, NY 10004

JOHN BYUN
100 Broad Street
New York, NY 10004

WILLIAM BYUN
100 Broad Street
New York, NY 10004

Mailing: By depositing a true copy of the within documents in a postage paid envelope in a Post
Office Box regularly maintained by the United States Government at Manhasset, County of
Nassau, State of New York.

Name: a

Sworn to before me. Katrina Conte .

   
  
    

 

Ln i
4 X&otary Public

MOTHY J. FIERST
Notany Public State of New York
No. QoFl4978999

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